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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


T.S. et al.,
                                                  Case No. 1:16-cv-08303
                     Plaintiffs,
                                                  Honorable Chief Judge
               v.                                 Rebecca Pallmeyer

Twentieth Century Fox Television, a division of
Twentieth Century Fox Film Corporation et al.,

                     Defendants.




  REPLY MEMORANDUM OF LAW OF THE COUNTY OF COOK, ILLINOIS,
AND LEONARD DIXON IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
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                                 SUMMARY OF ARGUMENT

       Because this is a conditions-of-confinement case, the Court must grant summary judgment

in favor of Cook County and Cook County Juvenile Temporary Detention Center (“JTDC”)

Superintendent Leonard Dixon (together, the “Government Defendants”) unless “the

[confinement] conditions in question are or were objectively serious.” T.S. v. Twentieth Century

Fox Television, 334 F.R.D. 518, 529 (N.D. Ill. 2020), quoting Hardeman v. Curran, 933 F.3d 816,

827 (7th Cir. 2019) (Sykes, J., concurring). Yet, although the “objectively serious” test is the law

both of this Circuit and of this case, Plaintiffs’ Consolidated Response in Opposition to Summary

Judgment (“Opp. Br.,” Dkt. No. 421-1) barely mentioned the test and made little attempt to satisfy

it. Nor can they do so. The minor complaints that they summarize on pages 20-21 of their brief

are not serious at all, much less “far beyond inconvenience.” Hardeman, 933 F.3d at 824. No

court has ever held that detainees may receive money damages for such small matters.

       The minor deprivations Plaintiffs complain about cannot be the basis of a state law claim,

either. Dixon has never disputed that he owes JTDC detainees a duty. But regardless of whether

or not that duty is “fiduciary” in nature—Dixon denies this as a legal matter, and no Illinois case,

state or federal, has held that detention officials are fiduciaries for detainees—the scope of any

state law duty is no different from, or broader than, the Fourteenth Amendment constitutional duty

not to inflict “punishment” on juvenile or pretrial detainees, which Dixon did not violate.

Plaintiffs’ brief also barely attempted to defend their intentional infliction of emotional distress

(“IIED”) claim, which they do not support with an iota of medical or lay testimony.

       The Court, therefore, should grant summary judgment for the Government Defendants on

all outstanding claims.




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                                               ARGUMENT

I.          Plaintiffs Failed to Establish Their Section 1983 and Breach of Fiduciary Duty
            Claims Related to Their Conditions of Detention.

            Plaintiffs enumerate the detention conditions they are complaining about on pages 20-21

of their Opposition Brief:

    •    T.S. had school on his pod on one day.         • H.C. did not leave his pod for one 24-hour
                                                          period during filming.
    •    T.S. had large muscle exercise on his
         pod on one day.                                • H.C. had school on his pod on one day.
    •    T.S. missed one Free Write class.              • H.C. missed one Free Write class.
    •    T.S. had one visit with his mother in a        • H.C. had large muscle exercise on his pod
         classroom rather than the visiting area.         on one day.
    •    Q.B.’s grandmother was not allowed             • All three plaintiffs claim they would have
         to visit him on one occasion.                    had “extra” recreation on school break
                                                          days, beyond the hour of scheduled large
    •    Q.B. had large muscle exercise on his
                                                          muscle exercise, but did not receive it.
         pod on one day.

            The Government Defendants dispute that some of these issues occurred at all and, for some

that did occur, dispute that the issues arose because of the presence of a film crew.1 Regardless,

Plaintiffs’ having experienced these minor issues does not entitle them to receive money damages.

The issues are not “objectively serious,” singly or collectively. Neither the colorful and inaccurate

“lockdown” rhetoric Plaintiffs use in their brief, nor their misplaced reliance on the testimony of

asserted experts, alters that fact. Rather, recognizing the impossibility of satisfying the controlling

“objectively serious” standard, Plaintiffs invent and ask this Court to set a different standard, under

which any imposition may establish a prima facie “punishment” claim. That is not the law. The

law is the Hardeman “objectively serious” test.


1
  The Government Defendants submit that Plaintiffs have introduced no evidence sufficient to
create a material issue of disputed fact that T.S. had “less privacy” in a single visit with his mother
(see Dkt. No. 397 at 5-6). As for the claims that H.C. was confined to his residential pod for one
24-hour period (see id. at 39), and that Q.B. did not receive one visit with his grandmother (see
Opening Br. at 14), the Government Defendants dispute that the presence of a film crew at the
JTDC caused those conditions, as discussed in the Government Defendants’ briefing in opposition
to class certification. See Dkt. No. 397 at 16 (H.C.), Dkt. No. 248 at 1, 16 (Q.B.)

                                                    2
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       (a)    Plaintiffs’ Section 1983 claims fail because they cannot show that the
       conditions they challenge were “objectively serious.”

       All parties agree that the Court must judge Plaintiffs’ federal claims under the standards of

the Fourteenth Amendment, “which prohibits the imposition of any punishment at all,” and not the

Eighth Amendment’s “cruel and unusual” punishment standard. Opp. Br. at 30. This Court’s

opinion denying class certification explained in detail that even under a Fourteenth Amendment

analysis, “there is ‘a de minimis level of imposition with which the Constitution is not concerned.’”

T.S., 334 F.R.D. at 529 (quoting Bell v. Wolfish, 441 U.S. 520, 539 n.21 (1979)). Another way of

stating that only “objectively serious” conditions are actionable is that an alleged combination of

conditions must have had “a mutually enforcing effect that produces the deprivation of a single,

identifiable human need,’ such as food or exercise.” Id. (quoting Budd v. Motley, 711 F.3d 840,

842-43 (7th Cir. 2013)). See also, e.g., Hardeman, 933 F.3d at 824 (challenged conditions must

be “far beyond inconvenience”); Burton v. Downey, 805 F.3d 776, 786 (7th Cir. 2015) (to meet

the test, detainees must have been deprived of “essential food, medical care, or sanitation”).

Numerous other courts have similarly ruled that challenged conditions must be “deprivations of

life’s necessities.” See Government Defendants’ Opening Brief (“Opening Br.,” Dkt No. 408-1)

at 17; McGee v. Milwaukee Cty., No. 19-cv-0707-bhl, 2020 WL 7630682, at *2 (E.D. Wis. Dec.

22, 2020) (authorizing claim to proceed where plaintiff was denied water).

       Plaintiffs’ claims fall far short of this constitutional standard. The Seventh Circuit, in fact,

repeatedly has rejected claims challenging conditions more serious than those Plaintiffs put at

issue. See Opening Br. at 26. For example, although Plaintiffs assert claims based upon having

had one day of large muscle activity provided in their pod common areas rather than elsewhere,

Plaintiffs’ brief ignored the three Seventh Circuit cases the Government Defendants cited in their

Opening Brief. In all of those cases, the Seventh Circuit rejecting denial-of-recreation claims that

were considerably longer in duration and severity than Plaintiffs’. See id.



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        Plaintiffs have never been able to, and still cannot, cite a case from any jurisdiction

awarding damages based on issues as minor as theirs. Mulvania v. Sheriff of Rock Island Cty., 850

F.3d 849 (7th Cir. 2017), which Plaintiffs have cited repeatedly, is not analogous.2 Plaintiffs also

cite the unpublished, non-precedential Reed v. Bowen, 769 F. App’x 365 (7th Cir. 2019). See Opp.

Br. at 30-31. Reed, however, is not analogous, either. The plaintiff in Reed claimed that a

detention center served him only unhealthy and undercooked food, he had to sleep on a mattress

on the floor for 51 days because the jail kept three detainees in a two-person cell, he was only

given a few hours a day outside a cramped cell that was rarely cleaned, and he “developed an

intense itching on his face from the cell’s crowded and dirty conditions.” Id. at 368. Plaintiffs

here allege nothing similar. See T.S., 334 F.R.D. at 529 (“[a] court should consider the severity

and duration of the conditions experienced by pretrial detainees”).

        Plaintiffs’ response to these shortcomings is to point to the purported expert opinions of

Earl Dunlap (Dixon’s predecessor at the JTDC, who remained in an oversight role there during the

months when filming occurred), and psychiatrist Dr. Louis Kraus. But these opinions do not “help

[this Court] to understand the evidence or to determine a fact in issue,” Fed. R. Evid. 702(a),

because specialized knowledge is not needed to ascertain whether the issues plaintiffs identify

were non-actionable trivialities or transgressions of constitutional magnitude. Even were this a

proper subject for expert testimony, moreover, the testimony Plaintiffs’ experts do offer does not

support Plaintiffs’ claims that the conditions they challenge were unconstitutional.

        Courts must consider the “weight” of expert evidence at the summary judgment stage.

Vollmert v. Wisconsin Dep’t of Transp., 197 F.3d 293, 298 (7th Cir. 1999). “An expert who


2
  The parties have discussed Mulvania many times in this case. See, e.g., Dkt. No. 397 at 25;
Opening Br. at 18. The plaintiffs in Mulvania all “were required to remove their underwear” in
the presence of corrections officers. 850 F.3d at 855. The plaintiffs thus alleged a “credible
dignitary harm,” and the Seventh Circuit expressed concern that if it did not countenance claims
when dignitary harm of this type was at issue, “a jail could presumably set forth security reasons
to require detainees to remain naked throughout their detention or other such unseemly measures.”
Id. at 858. Although Plaintiffs have attempted to portray Mulvania as authorizing Fourteenth
Amendment claims for minor issues, nothing in the case supports that characterization.

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supplies nothing but a bottom-line supplies nothing of value to the judicial process,” and his “naked

opinion[],” unsupported by the record, does not preclude summary judgment. Mid-State Fertilizer

Co. v. Exch. Nat’l Bank of Chicago, 877 F2d 1333, 1339 (7th Cir. 1989). Here, the exaggerated

representations that Plaintiffs’ counsel made to Mr. Dunlap and Dr. Kraus, and upon which they

based their opinions (see Dunlap Report, Pl.’s Ex. 4, ¶ 25; Kraus Report, Pl.’s Ex. 10, ¶ 32), did

not match the conditions that Plaintiffs actually still challenge, in volume, intensity, or duration.

See Jones v. Merchants Nat’l Bank & Trust Co., 42 F.3d 1054, 1057 (7th Cir. 1994) (“Self-serving

assertions without factual support in the record will not defeat a motion for summary judgment.”).

        Mr. Dunlap and Dr. Kraus submitted their reports nearly two years ago, while Plaintiffs

were pursuing a broader set of issues that the evidence ultimately did not support. They thus

mostly opine on then-alleged issues that Plaintiffs later admitted never occurred or that were not

experienced by Plaintiffs themselves. See Palmer v. Marion Cty., 327 F.3d 588, 596 (7th Cir.

2003) (“The object of [Rule 56(e)] is not to replace conclusory allegations of the complaint or

answer with conclusory allegations of an affidavit.”) (quoting Lujan v. Nat’l Wildlife Fed’n, 497

U.S. 871, 888 (1990)).3 Once the expert reports are shorn of these untrue or overstated claims,

they lose any reliable reasoning or logical conclusions. See McGlinchy v. Shell Chemical Co., 845

F.2d 802, 807 (9th Cir. 1988) (even where an expert has provided a rationale for his conclusions,

summary judgment will still be appropriate if the expert’s reasoning is “hopelessly flawed.”).

        Dr. Kraus rendered his purported medical opinions without having examined or spoken to

any of the Plaintiffs, and he and Mr. Dunlap did not issue revised reports to match the actual

evidence. Additionally, the reports make a number of vague and imprecise statements about the



3
   By way of example, in coming to his conclusions that filming harmed JTDC residents because
they were “confined to their pods for excessive amounts of time” (p. 10, header “b”), Mr. Dunlap
relied on Plaintiffs’ counsel’s representations to him that, during filming, the JTDC fully
eliminated outdoor recreation and off-pod programs that were otherwise available when school
was out of session (Pl.’s Ex. 4, ¶ 25). As reflected in Plaintiffs’ current claims, the evidence did
not support these assumptions.

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nature of the alleged conditions at the JTDC during filming. See, e.g., Dunlap Report, Pl.’s Ex. 4,

¶ 63 (“I understand that additional security measures were undertaken because of Empire.

However, whatever measures were taken, it was still riskier to have those 200 people in the facility

than to not have them in the facility.”) Opinions that use vague and equivocal language are of no

use to this Court in evaluating summary judgment. See U.S. v. Martin, No. 99 C 1130, 2000 WL

1029188, at *4-5 (N.D. Ill. July 26, 2000) (giving no weight to an expert opinion that made

statements “too equivocal to establish an issue for trial”). Dr. Kraus’s and Mr. Dunlap’s reports,

therefore, do not help Plaintiffs establish that their claims are “objectively serious.”

       (b)   Plaintiffs Cannot Salvage Their Section 1983 Claims by Changing the
       Standard Applied to Such Claims.

       Even though this Court adopted and applied Hardeman’s “objectively serious,” “far

beyond inconvenience” standard in its opinion denying class certification, and even though

Hardeman, Bell, Burton, Budd, and numerous District Court decisions all rejected claims where

plaintiffs fell short of that standard, Plaintiffs barely try to argue that their claims clear the

Hardeman bar. Rather, Plaintiffs’ brief amounts to a request that the Court reconsider the standard

they must meet, disputing “that a Fourteenth Amendment due process claim regarding conditions

of confinement requires some threshold showing that the conditions are sufficiently serious.” Opp.

Br. at 36. Plaintiffs argue, instead, that they can sue over trivial inconveniences so long as they

purportedly can show that the inconveniences served no legitimate objective. Plaintiffs’ position

is untenable, however, and none of the cases they cite support it.

       Hardeman followed the Supreme Court’s decision in Kingsley v. Hendrickson, 576 U.S.

389 (2015) (in excessive force cases, juries must determine whether the force used was objectively

unreasonable without considering the officers’ state of mind). Plaintiffs argue that “Kingsley

forbids” holding that “only certain ‘categories’ of conditions” (i.e., those that are “objectively

serious”) “can implicate a detainee’s constitutional rights.” Opp. Br. at 31, 32. But that is exactly

wrong, as the Seventh Circuit held in Hardeman while discussing Kingsley at length: Kingsley

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requires looking objectively at alleged conditions-of-confinement claims, but one purpose of that

objective inquiry is still to determine whether “the severity and duration of the conditions” at issue

“were so significant” as to have violated the Constitution. Hardeman, 933 F.3d at 823-24.4

        Plaintiffs appear to argue that the Seventh Circuit softened the Hardeman “objectively

serious” test in Mays v. Dart, 974 F.3d 810 (7th Cir. 2020). It did not. Mays involved an outbreak

of COVID-19 at the Cook County Jail. The inmates who sued in Mays were seeking to keep

themselves safe from a potentially deadly virus, and they contended that the Sheriff was not doing

enough to protect them. See id. at 814. As Mays involved an issue of life or death, there was no

question in the case that the challenged conditions—in particular, the alleged lack of social

distancing—were “objectively serious.” Mays, therefore, does not support Plaintiffs’ contention

that they may sue over non-serious conditions of confinement.

        Neither does Mulvania, which focused on those plaintiffs’ important dignity interests and

their rights not to have to strip naked in front of corrections officers and to remain indefinitely

without underwear. The Seventh Circuit did not mention Mulvania in the later-decided Hardeman,

and that omission undermines Plaintiffs’ argument that the no-underwear claims at issue in

Mulvania were somehow exempt from inquiries into whether challenged conditions were

“objectively serious,” rose “far beyond inconvenience,” and curtailed “necessary activities of life”

severely enough and over a long enough time to rise to a constitutional level.




4
  Only if “the conditions in question are or were objectively serious” would a court move on to
consider the other two elements of the Hardeman test, one of which is whether “the defendant’s
actions were objectively unreasonable—that is, not rationally related to a legitimate governmental
objective or excessive in relation to that purpose.” T.S., 334 F.R.D. at 529. Plaintiffs contend that
Dixon’s stated motives for permitting a television show to film at the JTDC were pretextual. Even
though Plaintiffs admit that “[p]rominent people regularly come to the JTDC” (Opp. Br. at 22),
they assert that Dixon invented reasons to permit Empire to film at the JTDC, ostensibly so that
he could take pictures of himself with Empire’s stars and demand a $50 “director’s chair” with the
Empire logo on it. Plaintiffs have put forward no actual evidence that Dixon disbelieved his stated
reasons for permitting the filming, however, and as the Government Defendants showed in their
Opening Brief (at 26), mere conjecture about the legitimacy of a governmental objective does not
suffice in opposition to a motion for summary judgment.

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        When the court in Hardeman used those phrases to describe what is prohibited under the

Due Process Clause of the Fourteenth Amendment, it was defining “punishment.” It is punishment

of pre-trial detainees, after all, that is prohibited. Hardeman, 933 F.3d at 822. By reading these

descriptions out of the standard for establishing a Section 1983 claim, Plaintiffs effectively urge

this Court to read the word “punishment” out of the jurisprudence. But Plaintiffs’ proposed

standard is not the law. The law is Hardeman’s “objectively serious” test.5

        Plaintiffs have also failed to satisfy another element of the Hardeman test—that Dixon

“acted purposefully, knowingly, or recklessly with respect to the consequences of his actions.”

T.S., 334 F.R.D. at 529, quoting Hardeman, 933 F.3d at 827. Importantly, negligence—even gross

negligence—does not create a Due Process violation. Hardeman, 933 F.3d at 827 (Sykes, J.,

concurring). And because Plaintiffs do not allege that Dixon acted purposefully or knowingly, the

operative question, which answers itself in this case, is whether the defendant “knew or should

have known of a serious risk . . . and failed to respond reasonably,” McFarthing v. Colone, No. 19

C 0777, 2020 WL 3250740, at *8 (N.D. Ill. June 16, 2020) (Pallmeyer, J.).

        Plaintiffs may not like Dixon’s choice to have allowed a film crew into the JTDC, but the

facts that they present in support of an alleged improper motive—that Dixon took pictures with

some of the actors and that he requested and received a $50 “director’s chair” with the Empire

logo as a memento—do not support a conclusion that knowingly courted serious risks of harm to

detainees. See, e.g., Guitron v. Noonan, No. 18-cv-1072, 2020 WL 4904073, at *7 (E.D. Wis.



5
  The Government Defendants do not dispute that a condition might be “objectively serious” for a
juvenile detainee but not for an adult pretrial detainee. None of the cases Plaintiffs cite, however,
suggest that the conditions at issue have constitutional implications even for minors. See Opp. Br.
at 34. Schall v. Martin, 467 U.S. 253, 269 (1984), and Bergren v. City of Milwaukee, 811 F.2d
1139, 1143 (7th Cir. 1987), hold only that “restrictions and conditions of confinement” imposed
on juveniles cannot rise to the level of punishment. That point is not in dispute. In A.J. v. Kierst,
56 F.3d 849, 855 (8th Cir. 1995), a juvenile detention facility “lodged as many as three youths in
a room” that was “approximately 69 feet in size,” requiring some detainees to sleep on mattresses
on the floor. But, in A.J., even those facts, in the court’s view—obviously involving more
restrictive conditions than those at issue in this case—“d[id] not constitute deprivations of such
magnitude as to violate plaintiffs’ due process rights.” Id.

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Aug. 20, 2020) (granting summary judgment where plaintiffs presented no evidence that officer

violated a jail policy “with reckless disregard”); Cf. Nadzhafaliyev v. Hardy, No. 16 C 6844, 2020

WL 7027578, at *7 (N.D. Ill. Nov. 30, 2020) (Pallmeyer, J.) (a jury could find a culpable state of

mind only because officers were on notice of the plaintiff’s objectively serious back injury and

had authority to provide him a bed accommodation but failed to do so).

        (c)   Dixon Owed Plaintiffs No Duty Under Illinois Law Broader Than That Owed
        Under the Fourteenth Amendment.

        Plaintiffs’ claims are no more tenable under state law. Plaintiffs’ breach of fiduciary duty

claim against Dixon proceeds from the false and unsupported premise that Dixon owed them a

broader duty under state law than that imposed by the United States Constitution. No Illinois case

supports that argument, however, and there is case law rejecting it. See Opening Br. at 27.6

        Judge St. Eve’s decision to deny the Government Defendants’ motion to dismiss Plaintiffs’

fiduciary claim, Dkt. No. 73 at 24-25, held only that “Plaintiffs have stated sufficient factual detail

raising a reasonable inference that Superintendent Dixon . . . [is] liable.” Judge St. Eve did not

conclude that Dixon’s duty definitely was fiduciary in nature. Neither did this Court in its denial

of class certification. See T.S., 334 F.R.D. at 538 n.14. No case from any state, in fact, has held

juvenile or adult detention center officials to be fiduciaries for detainees. To the contrary, as the

Government Defendants showed in their Opening Brief (at 28), numerous courts have rejected the

fiduciary argument. Plaintiffs’ brief ignores those cases. Plaintiffs instead cite three other cases

(see Opp. Br at 39), but two involved only federal constitutional claims and said nothing about a

potential fiduciary relationship under state law. The third, J.H. v. Mercer County Youth Detention

Ctr., 930 A.2d 1223 (N.J. Super Ct., App. Div 2007), involved alleged sexual abuse of a teenage


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  In denying class certification, this Court noted that “Defendants d[id] not appear to challenge”
that Dixon’s duty was fiduciary. T.S., 334 F.R.D. at 538. That question did not arise at the
certification stage because whether or Dixon owed a fiduciary duty is a matter common to all
detainees. Throughout this litigation, however, the Government Defendants consistently have
denied that detention center officials owe a fiduciary duty to detainees. See, e.g, Dkt. No. 48 at
12-13, Dkt. No. 64 at 6-8.

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inmate by a guard. Even in that context, the court did not find a fiduciary relationship. Plaintiffs,

in sum, have zero legal support for their claim that Dixon was their fiduciary.

       The two prior decisions in this case that contemplated the potential for Dixon to have owed

a fiduciary duty both cited Parks v. Kownacki, 711 N.E.2d 1208 (Ill. App. Ct. 1999). In Parks, a

parish priest repeatedly raped a girl who had volunteered to perform service at the church. The

girl’s parents entrusted her to the priest’s care, and she moved into the rectory, where the sexual

abuse continued. When she became pregnant, the priest violently assaulted her, inflicting life-

threatening injuries, to induce an abortion. See id. at 1210-11. The Illinois Court of Appeals held

that when the priest took the girl into his home and “exercise[d] all the control over her that a legal

guardian would,” he assumed a duty not to harm her. See id. at 1216. Importantly, however, even

on those truly awful facts that bear no relationship whatsoever to the allegations Plaintiffs make in

this case, the Illinois Supreme Court still did not endorse the lower court’s conclusion that the

priest’s duty was fiduciary in nature. See Parks v. Kownacki, 737 N.E.2d 287, 296 (Ill. 2000)

(refusing to address the issue because the plaintiff had not raised it below).

       Dixon does not dispute that his duty to Plaintiffs, whether pursuant to the Fourteenth

Amendment or state tort law, included “assum[ing] some responsibility” for their “safety and

general well-being.” T.S., 334 F.R.D. at 538 n.14 (quoting DeShaney v. Winnebago Cty. Dep’t of

Soc. Servs., 489 U.S. 189, 199-200 (1989)); see also Dkt. No. 73 at 24-25 (agreeing with Plaintiffs

that Dixon “assum[ed] some responsibility for the juvenile detainees’ safety and well-being”). In

DeShaney, the Supreme Court held it to be possible that “by voluntarily undertaking to protect [the

plaintiff] against a danger it concededly played no part in creating, the State acquired a duty under

state tort law to provide him with adequate protection against that danger.” 489 U.S. at 201-02.

The Court ultimately did not decide that issue, however, and Plaintiffs are therefore wrong to

characterize DeShaney as having held that the plaintiff in that case did have a state tort claim. See

Opp. Br. at 40. There was, in any event, no “danger” to Plaintiffs from the minor deprivations


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they challenge. Even if Plaintiffs can sue Dixon on a state law theory, therefore, as opposed to a

Fourteenth Amendment claim enforceable under 42 U.S.C. § 1983, they still must show that the

conditions they are suing over endangered their safety. For the reasons set forth above, the

conditions Plaintiffs challenge do not meet that threshold.

II.    Plaintiffs Have Not Set Forth Any Evidence to Support an IIED Claim, Let Alone
       Evidence That Would Create a Genuine Issue of Material Fact.

       As Judge St. Eve explained in the opinion denying dismissal of Plaintiffs’ IIED claim, “[t]o

recover on a claim for IIED, Illinois law requires a plaintiff to prove: (1) that the conduct was

extreme and outrageous, (2) that the actor intended that his conduct inflict severe emotional

distress or knew that there was a high probability that his conduct would inflict such distress, and,

(3) that the conduct in fact caused severe emotional distress.” Dkt. No. 73 at 25-26 (quoting Bailey

v. City of Chicago, 779 F.3d 689, 696 (7th Cir. 2015)). Plaintiffs still have not presented a shred

of evidence establishing any of those elements.

       Plaintiffs argue in a conclusory fashion that Dixon was an authority figure. See Opp. Br.

at 44. Although Illinois courts do consider the power that the defendant has over the plaintiff in

determining the outrageousness of the conduct, the power dynamic is merely a factor in that

determination and is not alone dispositive. See Graham v. Commonwealth Edison Co., 742 N.E.2d

858, 866-67 (Ill. 2000); Fox v. Hayes, 600 F.3d 819, 842 (7th Cir. 2010). Here, Plaintiffs have

failed to present any evidence that Dixon’s authorizing a film crew to use some areas of the facility

and adopting temporary operational changes to facilitate this was an abuse of power so extreme

that it “went beyond all possible bounds of decency and is regarded as intolerable in a civilized

community.” Dkt. No. 73 at 27. Plaintiffs also do not even try to argue that Dixon intended to

cause Plaintiffs severe distress or that there was a “high probability” that his conduct would do so.

       Plaintiffs also make no attempt to prove that they in fact suffered “severe emotional

distress,” despite that being an element of the claim. They admit that they neither sought nor


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received medical treatment for any emotional injury. They appear to argue that they need not

prove severe distress by noting that courts “tend to merge the issue of the outrageousness of the

defendant’s conduct with the issue of the severity of the plaintiff’s emotional distress, in effect

requiring more evidence of outrageousness the weaker the evidence of distress.” Opp. Br. at 44

(quoting Bristow v. Drake Street Inc., 41 F.3d 345, 350 (7th Cir. 1994)). In the very same

paragraph, however, the Seventh Circuit called this conflation “inelegant[]” and noted that

“[s]evere distress [still] must be proved.” 41 F.3d at 350 (quoting Restatement (Second) of Torts

§ 46 cmt. J). The absence of severe distress is independently fatal to Plaintiffs’ IIED claim.

III.   Dixon Is Immune From Plaintiffs’ Claims Pursuant to the Eleventh Amendment,
       Sovereign Immunity and Qualified Immunity.

       (a)     Dixon Has Eleventh Amendment immunity.

       When this Court granted summary judgment in favor of Chief Judge Evans, Plaintiffs

agreed that they were suing the Chief Judge in his official capacity. See T.S. v. Twentieth Century

Fox Television, __ F. Supp. 3d __, 2020 WL 6870809, at *2 (N.D. Ill. Nov. 23, 2020). The parties

stipulated that Dixon was the Chief Judge’s “final decision-maker.” Id. In Mathlack v. Fleming,

No. 18-CV-6406, 2019 WL 2866726, at *4 (N.D. Ill. July 3, 2019), the court held that both the

Chief Judge and Dixon had Eleventh Amendment immunity. In an attempt to avoid that result

here, Plaintiffs assert that they sued Dixon in his “individual capacity,” not an official capacity.

Opp. Br. at 45. Nothing in the Second Amended Complaint (“SAC”) supports this, however, and

Plaintiffs’ allegations against Dixon in the SAC concern official actions he took as Superintendent

(i.e., to authorize both the filming and the changes to operations giving rise to Plaintiffs’ claims).

Suits against officials are deemed not to be in a personal capacity where “state funds will be

tapped,” such that the state is “the real party in interest.” Digiore v. State of Illinois, 962 F. Supp.

1064, 1078 (N.D. Ill. 1997). See Kentucky v. Graham, 473 U.S. 159, 167 (1985) (“a suit against

a government official in his or her personal capacity cannot lead to imposition of fee liability upon

the governmental entity”).

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       Here, Plaintiff prays for the Court to issue a “judgment ordering an accounting and

disgorgement of enrichment realized by [Dixon].” SAC Ad Damnum ¶ (b). It was the government,

however, not Dixon that received compensation for allowing the film crew to access the JTDC.

This makes the government the “substantial party in interest.” See Edelman v. Jordan, 415 U.S.

651, 668 (1974) (claims seeking restitution from the state treasury are barred by the Eleventh

Amendment); Ford Motor Co. v. Dep’t of Treasury, 323 U.S. 459, 464 (1945), overruled on other

grounds by Lapides v. Bd. of Regents of Univ. Sys. of Georgia, 535 U.S. 613 (2002) (claim seeking

refund of tax payment from state officers responsible for collecting it barred by the Eleventh

Amendment because the state was the “substantial party in interest”).

       (b)     Dixon Is Entitled to Qualified Immunity.

       Plaintiffs have no real response to Dixon’s qualified immunity arguments. They state in

conclusory fashion that Dixon did not “carry out a legitimate penological objective at the JTDC”

(Opp. Br. at 46-47), but Dixon testified to his objectives. Plaintiffs may disagree that Dixon’s

decision furthered his stated objectives, but Plaintiffs do not identify any precedent “clearly

establishing” that Dixon could not authorize a film crew to access the JTDC and make minor

operational changes to facilitate it. Instead, they cite Demery v. Arpaio, 378 F.3d 1020 (9th Cir.

2004) and Robles v. Prince George’s Cty., 302 F.3d 262 (4th Cir. 2003). In Demery, a sheriff

installed cameras to give the public live feeds of pretrial detainees in their cells, which the Ninth

Circuit found to be “greater by several orders of magnitude than the intrusion inherent in

incarceration,” and that its very purpose was purely punitive. Demery, 378 F.3d at 1030-31. In

Robles, 302 F.3d at 269-70, a police officer handcuffed a prisoner to a light pole and left him alone

there, ostensibly as a “prank.” No analogy is possible between those actions and Dixon’s actions

in this case, and Plaintiffs failed to support with any evidence their claim that Dixon “imposed the

deprivations at issue for entirely illegitimate reasons.” Opp. Br. at 47. Dixon, therefore, is entitled

to qualified immunity. See, e.g., Hunter v. Bryant, 502 U.S. 224, 229 (1991) (qualified immunity


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applies even if a defendant’s judgment was mistaken, so long as it was not unreasonable under the

circumstances).

        (c)    Dixon is Entitled to Sovereign Immunity on Plaintiffs’ State Law Claims.

        Dixon must be considered a state employee, not a Cook County employee, for the same

reason the Court held Chief Judge Evans to be performing a state function. Plaintiffs do not

seriously dispute this point. See Opp. Br. at 48. If the Court finds that Dixon breached no

constitutional duty, it should decline to exercise supplemental jurisdiction over Plaintiffs’ state law

claims against Dixon. Rodriguez v. Cook Cty., 664 F.3d 627 (7th Cir. 2011), may permit the

exercise of jurisdiction, but in Fields v. Wharrie, 672 F.3d 505, 518 (7th Cir. 2012), the Seventh

Circuit distinguished Rodriguez and suggested that a district court “may wish to decline to exercise

its supplemental jurisdiction.” Illinois law provides that the Court of Claims has exclusive

jurisdiction over all claims against the State of Illinois sounding in tort. Healy v. Vaupel, 549

N.E.2d 1240, 1246 (Ill. 1990) (citing 705 Ill. Comp. Stat. 505/8(d) (2012)). That court is well

positioned to address Plaintiffs’ tort claims, if they have any.7

IV.     Cook County Need Not Indemnify Dixon.

        The Court’s decision that the Chief Judge’s oversight of the JTDC is a state function rather

than a county function should doom Plaintiffs’ claim that Cook County must indemnify Dixon.

That alleged indemnity obligation is Plaintiffs’ only basis for keeping Cook County in this case—

they concede that the Court should dismiss their Monell claim (see Opp. Br. at 50 n.10)—but Cook

County has no such obligation. Plaintiffs’ indemnification claim asserts that Dixon was a county

employee. See SAC ¶¶ 139-40. The Court has established that he was not.




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  Even if the Court otherwise denies the motion for summary judgment, it should decline to
exercise supplemental jurisdiction over the state law claims against Dixon. See Richman v.
Sheahan, 270 F.3d 430, 442 (7th Cir. 2001) (state law wrongful death claim should be dismissed
against Sheriff’s Officers on sovereign immunity grounds even when factually related Section
1983 claims proceed in federal court).

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       JTDC salaries, including Dixon’s, are reimbursed by the State. See 730 Ill. Comp. Stat.

110/15(4). Even if JTDC salaries were county expenses, Robinson v. Sappington, 351 F.3d 317

(7th Cir. 2003), does not require a county to indemnify whenever “the county funds the office of

[a] state official.” Opp. Br. at 49. In Robinson, the Seventh Circuit discussed the Carver trilogy

of cases collectively holding that “a county in Illinois is a necessary party in any suit seeking

damages from an independently elected county officer,” including sheriffs, “in an official

capacity.” Robinson, 351 F.3d at 339. The Seventh Circuit held that the principles in Carver

required a county to pay expenses and judgments “emanating from the workings” of a county

court, finding that this responsibility arises from the county’s “responsibility for maintaining” the

offices involved. Id. Robinson has been construed as doing nothing more than extending Carver

beyond sheriffs “to cases in which a plaintiff sues an Illinois judge in his official capacity,” but

still based on the concept that the county maintains the office. Youngman v. Kouri, No. 16-cv-

1005, 2016 WL 3965894, at *2 (C.D. Ill. July 19, 2016). In this case, however, the Court already

has held that Cook County had no control whatsoever over “how the Chief Judge”—to whom

Dixon reported—“operates and administers the facility.” T.S., 2020 WL 6870809, at *5. None of

the factors supporting county indemnification in Carver and Robinson, therefore, exist here.

                                         CONCLUSION

       For the above reasons, and those stated in the Government Defendants’ Opening Brief, the

Government Defendants request that the Court grant their Motion for Summary Judgment.




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    Date: March 11, 2021      Respectfully Submitted,


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                               CERTIFICATE OF SERVICE

       The undersigned, at attorney, certifies that the foregoing Government Defendants’ Reply

Memorandum of Law in Support of its Motion for Summary Judgment was served on all counsel

of record pursuant to the Court’s ECF system on this 11th day of March 2021.


                                                   /s/ Francis J. Catania




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